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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Alexandria Division



    Sony Music Entertainment,et al..

                           Plaintiffs,

            V.                                                 Case No. 1:18-cv-950-LO-JFA
                                                               Hon. Liam O'Grady
    Cox Communications,Inc., et a!..

                           Defendants.



                                              ORDER


        Before the Court is Plaintiffs' Motion for Summary Judgment(Dkt. 312)regarding

 Defendants'(or "Cox's") affirmative defenses as identified in Plaintiffs' brief(Dkt. 325 Section

 VI). The remainder of Plaintiffs' Motion for Summary Judgment is addressed in the Court's

 Memorandum Opinion and Order of November 15, 2019. Dkt. 586. The matter is fully briefed.

        Cox asserted numerous "Affirmative and Other Defenses" in its Answer, filed September

 24, 2018. Dkt. 21. Here, Plaintiffs move the Court to find that each of Cox's sixteen remaining

 affirmative defenses fail as a matter of law. The Court does not find that it is precluded from

 considering any portion of the motion based on untimeliness, as Defendants argue. Plaintiffs

 have the burden of demonstrating that there is "no genuine dispute as to any material fact"

 regarding each of these defenses to prevail in summary judgment. Fed. R. Civ. P. 56(a). If

 Defendants have failed to show a basis in fact for its Affirmative and Other Defenses, Plaintiffs

 must prevail,"since a complete failure of proofconceming an essential element of the

 nonmoving party's case necessarily renders all other facts immaterial." Celotex Corp. v. Catrett,

 477 U.S. 317, 323(1986).
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